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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                         )
                                                 )
             v.                                  )
                                                 )     No. 24-cr-10035-JEK
  (1) HAN LEE,                                   )
           Defendant                             )


                  ASSENTED TO STATUS REPORT RE: RULE 11 HEARING

          Pursuant to the Court’s order on September 5, 2024 (D.E. 97), the government – with the

   assent of the defendant – responds as follows:

          1) There is no plea agreement; and,

          2) The defendant is presently detained. See D.E. 27. The defendant is not seeking to

              revisit the issue of detention post-plea.


                                                          Respectfully submitted,

                                                          JOSHUA S. LEVY
                                                          Acting United States Attorney

                                                 By:      /s/ Lindsey E. Weinstein
                                                          Lindsey E. Weinstein
                                                          Assistant U.S. Attorney
                                                          1 Courthouse Way, Suite 9200
                                                          Boston, MA 02210



                                  CERTIFICATE OF SERVICE

           I hereby certify that this document filed through the ECF system will be sent
   electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                           /s/ Lindsey E. Weinstein
                                                           Lindsey E. Weinstein
                                                           Assistant U.S. Attorney


   Dated: September 24, 2024
